            Case 3:18-cv-01602-VAB Document 6 Filed 09/24/18 Page 1 of 1



                          UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

                          ELECTRONIC FILING ORDER

       The Court orders that the parties shall file all documents in this case

electronically. The following requirements are imposed:

       1.      Counsel must comply with all applicable Federal Rules of Civil Procedure,

               the District's Local Rules and the requirements set forth in the District's

               CM/ECF Policies and Procedures Manual, and any other rules and

               administrative procedures that implement the District's CM/ECF system.

       2.      Documents filed electronically must be filed in OCR text searchable PDF

               format.

       3.      Unless otherwise ordered, on the business day next following the day on

               which a document is filed electronically, counsel must provide Chambers

               with one paper

               copy of the following e-filed documents:

       Civil Cases: All pleadings (including briefs and exhibits) supporting or

opposing the following:

       a.      Applications for temporary restraining orders, preliminary
               injunctions or prejudgment remedies;
       b.      Dispositive motions (motions to dismiss or for summary judgment);
       c.      Requested jury instructions;
       d.      Compliance with Pretrial Orders;
       e.      Trial briefs, including proposed findings of fact and conclusions of
               law; and f. Any other filing requested by the court.


                                           /s/ Victor A. Bolden
                                           Victor A. Bolden
                                           United States District Judge
Rev 1/25/15
